             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:14-cr-00029-MR-DLH-9


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )             ORDER
                                )
                                )
GERALD WILLIAM LOCKLEAR,        )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s Amended

Sealed Motion to Delay Reporting [Doc. 286] and the Defendant’s Motions

to Seal Documents [Docs. 284, 287].

     On November 20, 2014, the Court entered an Order granting the

Defendant’s first sealed motion to delay his report date.        [Doc. 288].

Accordingly, the Defendant’s Amended Sealed Motion to Delay Reporting

[Doc. 286] is now moot.

     The Defendant moves to file both motions to delay his report date

under seal. [Docs. 284, 287]. Before sealing a court document, the Court

must “(1) provide public notice of the request to seal and allow interested

parties a reasonable opportunity to object, (2) consider less drastic



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alternatives to sealing the documents, and (3) provide specific reasons and

factual findings supporting its decision to seal the documents and for

rejecting the alternatives.” Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th

Cir. 2000).

      In the present case, the public has been provided with adequate

notice and an opportunity to object to the Defendant’s motions.           The

Defendant filed his motions on November 17 and November 20, 2014,

respectively, and they have been accessible to the public through the

Court’s electronic case filing system since that time.          Further, the

Defendant has demonstrated that these motions contain protected health

information concerning the Defendant and that the public’s right of access

to such information is substantially outweighed by the competing interest in

protecting the details of such information. Finally, having considered less

drastic alternatives to sealing the document, the Court concludes that

sealing of the document is necessary to protect the Defendant’s privacy

interests.

      IT IS, THEREFORE, ORDERED that the Defendant’s Amended

Sealed Motion to Delay Reporting [Doc. 286] is DENIED AS MOOT.

      IT IS FURTHER ORDERED that the Defendant’s Motions to Seal

[Docs. 284, 287] are GRANTED, and the Defendant’s Motions to Delay
                                     2



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Reporting [Docs. 283, 286] shall remain under seal until further Order of

this Court.

      IT IS SO ORDERED.
                               Signed: November 25, 2014




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